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                                                              U.S. USiH2T C.2UT
                                                                C      f IJ

               IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA    6AUr22                   11: 04
                          AUGUSTA DIVISION

UNITED STATES OF AMERICA                 )                      $ C1UGA.
                                                                       ;   t            vt

V.                                       )       CASE NO. CR106-092

VINCENT SAVAGEAU,

        Defendant.


                                  ORDER

        Before     the    Court      is         Defendant's   Motion       for

Reconsideration. (Doc. 167.) After careful consideration of

the record in this case, the Court sees no reason to

reconsider its prior order. (Doc. 166.) Accordingly,

Defendant's motion is DENIED.
                                  .477
        SO ORDERED this .Z'day of August 2016.




                                             WILLIAM T. MOORE, JR.
                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF GEORGIA
